                Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 1 of 44




 1     Bonny E. Sweeney (SBN 176174)                              Brent W. Landau (pro hac vice application
 2     Seth R. Gassman (SBN 311702)                               forthcoming)
       HAUSFELD LLP                                               Gary I. Smith, Jr. (pro hac vice application
 3     600 Montgomery Street, Suite 3200                          forthcoming)
       San Francisco, CA 94111                                    HAUSFELD LLP
 4     Telephone: (415) 633-1908                                  325 Chestnut Street, Suite 900
       Facsimile: (415) 358-4980                                  Philadelphia, PA 19106
 5
       Email: bsweeney@hausfeld.com                               Tel: 215-985-3270
 6            sgassman@hausfeld.com                               Fax: 215-985-3271
                                                                  Email: blandau@hausfeld.com
 7                                                                        gsmith@hausfeld.com

 8    [Additional Counsel Listed on Signature Page]
 9

10

11

12                          THE UNITED STATES DISTRICT COURT
13                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

14   -------------------------------x
                                               :
15   LARKIN COMMUNITY HOSPITAL, on :
     behalf of itself and all others similarly :
16
     situated                                  :
17                                             :           Civil Action No. 3:21-cv-03825
                      Plaintiff,               :
18                                             :
                      v.                       :           COMPLAINT AND JURY DEMAND
19                                             :
     INTUITIVE SURGICAL, INC.                  :
20
                                               :
21                    Defendant.               :
     -------------------------------x
22
             Plaintiff Larkin Community Hospital, on behalf of itself and all others similarly situated,
23
     upon knowledge with respect to its own actions and upon information and belief with respect to
24

25   all other matters, alleges by way of Complaint against Defendant Intuitive Surgical, Inc.

26   (“Intuitive”):
27

28                                                    1
                 Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 2 of 44




                                             INTRODUCTION
 1

 2          1.      This antitrust action, brought under Sections 1 and 2 of the Sherman Act, involves

 3   abuse of monopoly power claims, including a tying and monopoly leveraging scheme

 4   implemented by Intuitive in the sale of its da Vinci Surgical Robot System (“da Vinci”). Intuitive
 5
     has obtained patents giving it monopoly power in the U.S. surgical robot market, but unlawfully
 6
     leveraged that power to restrict competition in the separate (a) da Vinci surgical robot service
 7
     aftermarket, and (b) da Vinci surgical robot instrument service aftermarket, by, among other
 8
     things as alleged herein, tying the sale of the da Vinci to the service of the robot and the
 9

10   necessary robot instruments.

11          2.      Intuitive conditions the sale or lease of the da Vinci on the purchaser’s acceptance
12   of Intuitive’s mandatory service contract. The service contract requires the purchaser to use
13
     Intuitive as the sole service provider for all da Vinci systems, and prohibits the purchaser from
14
     either servicing the robot itself or hiring an independent robot repair company (“IRRC”) to
15
     service the da Vinci.
16

17          3.      Intuitive also ties the service, including repair and replacement, of da Vinci

18   surgical instruments, sold under the brand name “EndoWrist,” to the sale or lease of its robot

19   system. Intuitive restricts the number of times a purchaser may use the EndoWrist instruments, in
20   most cases to a mere ten uses. This forces Plaintiff and proposed Class members to purchase
21
     substantially more EndoWrists than necessary, rather than allowing the EndoWrists to be
22
     serviced and repaired for longer use, more in keeping with their useful lives. Intuitive’s service
23
     of an EndoWrist instrument typically involves the sale and installation of a new replacement
24

25   EndoWrist. According to the terms of the da Vinci sales agreements and service contracts,

26   hospitals cannot hire IRRCs to service or repair their EndoWrist instruments (i.e., clean or

27   sharpen them for longer use).
28                                                     2
                  Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 3 of 44




             4.      There are relevant primary markets for (a) surgical robots, (b) surgical robot
 1

 2   instruments, and (c) the repair and/or replacement of surgical robots and surgical robot

 3   instruments. Additionally, there are relevant aftermarkets for service of (a) da Vinci robots; and

 4   (b) EndoWrist instruments (which includes their repair and replacement), which are separate
 5
     from the primary markets. Intuitive has monopoly power in every relevant market and
 6
     aftermarket. Intuitive’s abuse of monopoly power scheme illegally exploits its market power in
 7
     the surgical robot market to foreclose competition in the da Vinci Service and EndoWrist Service
 8
     Aftermarkets. The scheme is successful and has almost completely inhibited competition in the
 9

10   service aftermarkets for either the da Vinci or EndoWrists, thus precluding customers from using

11   the IRRCs, which deliver the same quality service at lower prices. Intuitive’s conduct has
12   thereby significantly increased costs to Plaintiff and the proposed Class. For example, IRRCs
13
     Restore Robotics LLC (“Restore”), Surgical Instrument Service Company, Inc. (“SIS”), Revanix
14
     Biomedical (“Revanix”), and Rebotix Repair LLC (“Rebotix”) offer repair services for the da
15
     Vinci and EndoWrists by skilled and experienced technicians.
16

17           5.      Defendant’s anticompetitive scheme has had the effect of driving the majority of

18   Intuitive’s annual revenues: in 2019, Intuitive reported product revenue of $2.621 billion in the

19   U.S. out of a total $3.1 billion in U.S. revenue. Product revenues comprise revenues from the
20   sales of da Vincis, accompanying accessories, EndoWrists and replacement EndoWrists. Most of
21
     Intuitive’s U.S. revenue (57%) was attributable to instrument and accessory sales and
22
     replacement, and 16% was attributable to service contracts. While the coronavirus pandemic
23
     reduced the overall da Vinci-related revenues in 2020, Intuitive’s revenues from its related
24

25   service and repair offerings still exceeded $2 billion in 2020 and represented approximately 77%

26   of its total revenue in the U.S.

27

28                                                    3
                 Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 4 of 44




            6.      But for Intuitive’s unlawful abuse of monopoly power, IRRCs could service the
 1

 2   da Vinci and EndoWrists, which would allow for competitive pricing in the da Vinci and

 3   EndoWrist Service Aftermarkets. For example, SIS states it charges its customers approximately

 4   30-45% less to clean or repair an EndoWrist than Intuitive charges to replace the same
 5
     EndoWrist. Restore also estimates that Intuitive charges approximately 30% higher prices on
 6
     average for EndoWrist replacement as compared to EndoWrist repairs performed by IRRCs.
 7
     Denying IRRCs the ability to service da Vincis forces Plaintiff and proposed Class members
 8
     such as hospitals and clinics to pay supercompetitive prices for these services. Likewise, denying
 9

10   IRRCs the ability to service EndoWrists forces Plaintiff and proposed class members to spend

11   thousands of dollars replacing instruments that could be repaired and safely reused throughout
12   those instruments’ useful lives.
13
            7.      For these reasons and to remedy the injuries that have been caused by Intuitive’s
14
     anticompetitive conduct, Plaintiff and the proposed Class seek treble damages.
15
                                                  PARTIES
16

17          8.      Plaintiff Larkin Community Hospital is a Florida corporation with its principal
18   place of business located in Miami, Florida. Plaintiff Larkin leased two da Vincis, an Xi and an
19
     Si, from Defendant Intuitive in June 2017, pursuant to written lease agreements. During the
20
     proposed Class Period (defined in paragraph 104, infra), Larkin paid for and/or purchased
21
     service to its (a) da Vincis, and (b) EndoWrists. In 2018, in an effort to save significant costs on
22

23   its EndoWrist service and replacements. Plaintiff engaged with Revanix, an IRRC they had used

24   before in connection with the service and repair of other types of medical equipment. Thus,

25   Larkin was confident that Revanix could adequately service its EndoWrists at significant cost
26
     savings to Larkin. However, before Larkin could hire Revanix, it became clear that Intuitive was
27
     prepared to serve Larkin (and Revanix) with cease-and-desist letters and void the warranty on
28                                                     4
                 Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 5 of 44




     Larkin’s da Vincis. Based on those threats, Larkin stopped its efforts to have Revanix service its
 1

 2   EndoWrists. Larkin continued to operate its da Vincis in 2019 and 2020, and was forced to

 3   replace its EndoWrists, at much higher costs, by purchasing them from Intuitive. As a result of

 4   Intuitive’s antitrust violations, Plaintiff and members of the proposed Class (defined in paragraph
 5
     104, infra) have been injured in their business or property.
 6
            9.      Defendant Intuitive Surgical, Inc. is a Delaware corporation with its principal
 7
     place of business at 1020 Kifer Road, Sunnyvale, CA. Intuitive is the creator and manufacturer
 8
     of the da Vinci, along with its accessories and instruments, including the EndoWrist line of
 9

10   surgical instruments. Intuitive directly sells da Vincis and EndoWrists, along with associated

11   parts and services, to hospitals, clinics and surgical centers throughout the United States,
12   including in the Northern District of California.
13
                                      VENUE AND JURISDICTION
14
            10.     This complaint is filed under Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1
15
     and 2. This Court has jurisdiction over the federal antitrust law claims alleged herein under 28
16

17   U.S.C. §§ 1331, 1337, 2201 and 2202, and 15 U.S.C. §§ 15 and 26.

18          11.     Defendant transacts business and is found in this district. Substantial interstate

19   trade and commerce involved and affected by the alleged violations of antitrust law occurs
20   within this district. The acts complained of have had substantial anticompetitive effects in this
21
     district. Venue is proper in this district under 28 U.S.C. § 1391 and 15 U.S.C. §§ 15, 22 and 26.
22
            12.     Intradistrict Assignment. Although antitrust class actions are excluded from Local
23
     Rule 3-2(c), Intuitive is headquartered in Sunnyvale, California and the parties have agreed to
24

25   venue in Santa Clara County.

26
27

28                                                       5
                 Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 6 of 44




                                       GENERAL ALLEGATIONS
 1

 2      A. Relevant Markets

 3          1.       The Robotic Surgical Systems Market and Intuitive’s Monopoly Power in
                     That Market
 4
                  a. The Robotic Surgical Systems Product Market
 5

 6          13.      Robotic surgical systems are used for minimally invasive soft tissue surgeries

 7   performed between the pelvis and the head. Robotic surgery, like laparoscopic surgery done by

 8   hand, makes several incisions in soft tissue for the insertion of small surgical instruments to
 9   perform a surgical procedure. The surgeon, sitting at a computer, uses hand-controls to
10
     manipulate the instruments that are attached to the system by robotic arms with joints.
11
            14.      Robotic surgeries greatly mirror laparoscopic surgeries that have been performed
12
     by hand for decades. However, robotic surgeries have a variety of practical advantages over
13

14   traditional laparoscopic surgeries, including:

15                     i.   Stereoscopic high-definition cameras for 3-D visibility;

16                    ii.   An additional robotic arm that allows the simultaneous use of three
17
                            instruments;
18
                     iii.   Wrist joints that allow for an expanded range of motion compared to
19
                            human mobility;
20
                     iv.    The ability to precisely perform small discrete movements with the robotic
21

22                          arms and instruments;

23                    v.    Minimizing surgeon fatigue; and
24                   vi.    Decreasing complication rates and reducing the lengths of patient stays.
25
            15.      There is a relevant product market for robotic surgical systems. Surgical robots
26
     have no practical substitute, because although robotic surgery is significantly more expensive
27

28                                                    6
                 Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 7 of 44




     and less profitable than traditional laparoscopic surgical procedures, hospitals are expected to
 1

 2   offer robotic surgeries.

 3           16.      In fact, the very characteristics that make surgical robots unique and more

 4   expensive – enhanced visualization using high-definition cameras, precise and tremor-free
 5
     instrument controls, advanced instrumentality, and improved surgeon ergonomics – make robotic
 6
     surgeries preferable to traditional laparoscopic procedures for surgeons. Notwithstanding the fact
 7
     that robotic surgery is itself more expensive than traditional laparoscopic surgery, hospitals
 8
     believe that robotic surgery can lower the overall cost to treat per episode by reducing
 9

10   complications, shortening recovery times and hospital stays, and resulting in better long-term

11   health outcomes and higher patient satisfaction than with traditional laparoscopic surgery. Many
12   patients find that robotic surgery reduces pain, scarring, and is safer and more effective than
13
     traditional laparoscopic surgeries. Thus, robotic surgery is generally preferable for hospitals and
14
     their surgeons and patients.
15
             17.      There is a very low cross-elasticity of demand between surgical robots and
16

17   laparoscopic surgery equipment, instruments, and service. A 2017 study estimated that hospitals

18   spent $1,701 on average per surgical robot procedure, which includes purchasing and

19   maintaining the system, an expense that is novel to robotic surgery.1 It also found that the robotic
20   surgical system’s instruments and accessories cost on average $1,866 per procedure.2 By
21
     comparison, the study estimated that instruments in traditional laparoscopic surgeries cost less
22
     than $1,000 per procedure.3 Further, most insurance plans pay the same amount for minimally
23
     invasive robotic surgery and laparoscopic surgery, such that patients pay much more out of
24

25

26   1
       Christopher P. Childers and Melinda Maggard-Gibbons, Research Letter: Estimation of the Acquisition and
     Operating Costs for Robotic Surgery, 320 Journal of American Medical Association 835, 836 (August 28, 2018).
27   2
       Id.
     3
       Id.
28                                                          7
                 Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 8 of 44




     pocket for minimally invasive robotic surgery and hospitals have lower (and sometimes
 1

 2   negative) margins on minimally invasive robotic surgery. Nevertheless, the estimated procedure

 3   volume for robotic surgery increased from 136,000 in 2008 to 877,000 in 2017 for a

 4   compounded annual growth rate of 23%.4 Thus, it is apparent that an increase in the cost of a
 5
     minimally invasive surgical robot, instruments, and service does not lead doctors or patients to
 6
     choose laparoscopic or traditional surgery equipment instead, nor would a change in the cost of
 7
     traditional or laparoscopic equipment affect the market for minimally invasive surgical robots,
 8
     instruments, and service.
 9

10             18.   Likewise, instead of using cheaper laparoscopic equipment for surgeries, hospitals

11   are investing millions in replacing their laparoscopic equipment with robotic surgical systems,
12   even at much higher prices. Accordingly, neither laparoscopic surgery nor any other procedure is
13
     substitutable with a robotic surgical system, as hospitals will not switch to those procedures even
14
     if the price of the robotic surgical system is raised above competitive levels.
15
               19.   Robotic surgical systems and traditional laparoscopic surgical equipment occupy
16

17   separate economic markets. The financial and healthcare press refer specifically to the market for

18   surgical robots and competition in surgical robots. Surgeons can specialize in robotic surgery,

19   and there are several professional and trade associations focused on robotic surgery such as the
20   Society for Robotic Surgery and the Clinical Robotic Surgery Association. Surgical robots have
21
     very distinct prices.
22
               20.   Intuitive, founded in 1995, designs, manufactures, and markets the da Vinci
23
     directly to its customers in the U.S. The Food and Drug Administration (“FDA”) approved the da
24

25

26
27
     4
         Id.
28                                                     8
                    Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 9 of 44




     Vinci for general laparoscopic surgery in 2000.5 It was the only surgical robot system approved
 1

 2   by the FDA for sale in the U.S. market until 2015. It is approved for both adult and pediatric use.

 3              21.      The da Vinci, pictured below in Figure 1, consists of three main components: the

 4   surgeon’s console where the surgeon sits to perform the operation; the patient-side cart which
 5
     holds the camera and surgical instruments controlled by the surgeon; and the vision system
 6
     which manages communication between all the system’s component parts and has a view screen
 7
     that allows the care team to view the surgery in real time.6
 8
                                          Figure 1: The Da Vinci Surgical System
 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24              22.      There are four generations of Intuitive da Vincis: the latest generation includes the

25   Xi, X, and SP models. The third generation includes the Si model; the second is the S model; and
26
27   5
         Intuitive (Form 10-K), at 5 (Feb. 10, 2021).
     6
         Id. at 6.
28                                                          9
                Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 10 of 44




     the first-generation system is the ‘standard’ surgical system. The da Vinci SP is the latest system
 1

 2   to be launched, in 2018.7 The da Vinci X and Xi systems utilize different surgical instruments

 3   than earlier generation systems.

 4            23.      Intuitive sells the da Vinci directly to hospitals and surgical centers, and also
 5
     enters lease arrangements directly with certain qualified customers, a practice it started in 2013.8
 6
     It has also entered usage-based arrangements with larger customers. Under such arrangements,
 7
     hospitals are charged for the system and service as the systems are utilized.
 8
              24.      As of December 31, 2020, Intuitive had an installed base of 3,720 da Vincis in the
 9

10   U.S.9 The U.S. installed base has increased by over 45% in the past four years alone: as of

11   December 31, 2016, Intuitive had an installed base of 2,563 da Vincis in the U.S.10 Moreover,
12   despite the coronavirus pandemic, the U.S. installed base grew by over 5% in 2020.11
13
              25.      The da Vinci is a minimally invasive soft tissue surgical robot and may be used to
14
     perform a variety of surgical procedures including general, gynecologic, urologic, cardiothoracic,
15
     and head and neck surgeries. While other companies have introduced products in the field of
16

17   robotic-assisted surgery, most of those machines cannot be used for minimally invasive soft

18   tissue surgeries and none is a significant competitor in the surgical robot market. For example, a

19   natural orifice surgical robot allows a surgeon to insert a flexible scope with a camera into the
20   abdominal cavity via one of the body’s natural orifices. The surgeon may then perform throat,
21
     neck, or colorectal surgical procedures. However, the robot can only operate instruments
22
     introduced through the tube inserted into the natural orifice. It is also not indicated for pediatric
23

24
     7
       Id. at 63.
25   8
       Intuitive (Form 10-K), at 56 (Feb. 10, 2021). Intuitive also sells the da Vinci directly to leasing companies. When
     hospitals acquire da Vincis through leasing companies, hospitals enter an independent arrangement with the leasing
26   company. Id.
     9
       Id. at 10 (Feb. 10, 2021).
27   10
        Intuitive (Form 10-K), at 9 (Feb. 6, 2017).
     11
        Intuitive (Form 10-K), at 10 (Feb. 7, 2020) (3,531 systems in the U.S. as of December 31, 2019).
28                                                            10
                  Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 11 of 44




     use. The constraints imposed by both the mode of access and the limited availability of tools for
 1

 2   use with natural orifice surgical robots pose several challenges for surgeons and preclude it from

 3   competing in the surgical robot market. Likewise, orthopedic robots, which are designed for

 4   assisting in the removal of bone and aligning prosthetics for knee and hip replacement, are not
 5
     indicated for use in minimally invasive soft tissue surgery and are not a practical substitute for
 6
     surgical robots.
 7
             26.      In 2020, approximately 876,000 procedures were performed using the da Vinci in
 8
     the U.S.12
 9

10           27.      The da Vinci ranges in price from $500,000 to $2.5 million. Intuitive reported

11   $830.7 million in revenue from da Vinci sales in the U.S. in 2019, accounting for 61.7% of
12   systems sales worldwide.13
13
             28.      Intuitive sells all necessary robot service, and over 80 different types of surgical
14
     instruments for use with the da Vinci under the EndoWrist brand. As shown in Figure 2, below,
15
     EndoWrist instruments are modeled after the human wrist and offer a greater range of motion
16

17   than the human hand. Figure 3, below, demonstrates the variety of EndoWrists available to

18   hospitals.

19                                   Figure 2: EndoWrist modeled after human hand14
20

21

22

23

24

25
     12
        Intuitive (Form 10-K), at 60 (Feb. 10, 2021).
26   13
        Intuitive (Form 10-K), at 87 (Feb. 7, 2020).
     14
        Palep J. H. (2009). Robotic assisted minimally invasive surgery. Journal of minimal access surgery, 5(1),
27   1–7. https://doi.org/10.4103/0972-9941.51313; Intuitive; and Longmore, S. K., Naik, G., & Gargiulo, G. D. (2020).
     Laparoscopic Robotic Surgery: Current Perspective and Future Directions. Robotics, 9(2), 42.
28                                                          11
     Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 12 of 44




 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28                                12
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 13 of 44




                          Figure 3: Variety of EndoWrists available for use with the da Vinci
 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14          29.     Intuitive sells a variety of EndoWrist instruments with customizable tips for
15
     various surgical procedures including forceps, scissors, scalpels, and clamps. The da Vinci was
16
     designed to work exclusively with instruments manufactured and sold by Intuitive. Thus,
17
     EndoWrists are the only instruments compatible with the da Vinci and the only instruments
18
     approved by the FDA for use with the da Vinci.
19

20          30.     As derivative markets of the da Vinci system, the demand for da Vinci and

21   EndoWrist service is directly linked to the installed base of da Vincis and how often those
22   systems are used.
23
            31.     Intuitive installs a programmable memory chip inside each instrument that limits
24
     the number of times the instrument may be used. A majority of EndoWrists have a maximum
25
     usage limit of 10.
26
27

28                                                    13
                Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 14 of 44




                   b. The Geographic Market for Surgical Robot Systems
 1

 2           32.      There is a national geographic market for surgical robot systems in the U.S. The

 3   FDA regulates the approval of all medical equipment in the U.S., including surgical robot

 4   systems. Manufacturers who wish to sell surgical robot systems in the U.S. must obtain FDA
 5
     approval before doing so.
 6
             33.      The surgical robot systems approved for use in the U.S. are not substitutable;
 7
     hospitals cannot import or operate non-approved surgical robot systems.
 8
             34.        U.S. hospitals are thus unable to buy surgical robot systems from suppliers in
 9

10   other countries, even if Intuitive raises its surgical robot system prices above competitive levels.

11                 c. Intuitive Has a Monopoly in the U.S. Market for Surgical Robots.
12           35.      Intuitive has monopoly power in the U.S. market for the sale of minimally
13
     invasive soft tissue surgical robots and, as a result, can and does exclude competition and
14
     maintain supracompetitive prices for the da Vinci.
15
             36.      The number of procedures performed using the da Vinci has typically increased at
16

17   least 14% year-over-year since 2017, with a 1% decrease in procedures performed in 2020 due to

18   the ongoing Coronavirus pandemic.15

19           37.      In its most recent Annual Report, Intuitive states that it faces competition in the
20   fields of “existing open surgery, conventional MIS [minimally invasive surgery], drug therapies,
21
     radiation treatment, and emerging interventional surgical approaches” and robotic-assisted
22
     surgery.16 Intuitive does not cite any competition in the robotic surgical system market. A
23
     company called Asensus (formerly known as TransEnterix) received FDA approval for
24

25   commercial sale of its surgical robot in the U.S. in 2017,17 shown below in Figure 4. Sold under

26
     15
        Intuitive (Form 10-K), at 60 (Feb. 10, 2021).
27   16
        Id. at 12.
     17
        Asensus (f.k.a. TransEnterix) (Form 10-K), at 4 (March 16, 2020).
28                                                           14
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 15 of 44




     the Senhance brand name, the robot is approved to perform gynecological, colorectal, and
 1

 2   cholecystectomy surgeries, and inguinal hernia repair. It cannot perform certain surgeries, such

 3   as cardiothoracic or urological surgeries, making it less functional than the da Vinci. Nor is it

 4   approved for pediatric use. Asensus reported just $90,000 in revenues from system sales in 2019
 5
     in the U.S. and has had “limited commercial success to date” in the U.S.18
 6
                                          Figure 4: Senhance Surgical Robot19
 7

 8

 9

10

11

12

13

14

15

16

17

18
19           38.     Asensus’ de minimis market share in the surgical robot market is due to Intuitive’s

20   long established presence in U.S. hospitals, the amount of experience U.S. surgeons have with
21   the da Vinci, and the number of da Vincis installed in the U.S. versus Senhance robots. Thus,
22
     neither Senhance, nor any other company, is a significant competitor in the surgical robot
23
     market.
24

25
     18
       Id. at 13.
26   19
       TransEnterix, Inc. Unveils New Brand Identity for Robotic Surgical System: Establishes Senhance™ to
     Communicate New Era in Robotic Surgery, BusinessWire (Sept. 7, 2016),
27   https://www.businesswire.com/news/home/20160907005187/en/TransEnterix-Inc.-Unveils-New-Brand-Identity-for-
     Robotic-Surgical-System.
28                                                      15
                Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 16 of 44




             39.      While other companies have introduced products in the field of robotic-assisted
 1

 2   surgery, these machines are not part of the surgical robot market and thus are not competitors of

 3   Intuitive’s da Vinci. For example, a company called Medrobotics received clearance for a natural

 4   orifice surgical robot on July 23, 2015. However, the robot, sold under the Flex system brand
 5
     name, can only operate instruments introduced through the tube inserted into the natural body
 6
     orifice. Thus, due to its design limitations, it is only indicated for a limited range of procedures
 7
     and is not a direct competitor to the da Vinci. And Asensus’ Senhance system is not intended for
 8
     most other procedures that the da Vinci may perform.
 9

10           40.      Prior to FDA approval of the Senhance system for minimally invasive robotic

11   surgeries, Intuitive maintained a 100% market share for surgical robots. Even after Senhance and
12   Medrobotics entered the robotic surgery market, Intuitive still maintains at least a 98% market
13
     share in the market for surgical robots because neither company has been able to gain sufficient
14
     U.S. market share to pose a meaningful threat to Intuitive’s market dominance. While Intuitive
15
     shipped 728 da Vincis throughout the U.S. in 2019, Asensus did not ship any Senhance systems
16

17   domestically and Medrobotics shipped fewer than 10 Flex robot systems worldwide.

18           41.      External literature characterizes Intuitive as possessing monopoly power in the

19   robotic surgical system market. For example, one 2017 study in the Journal of Minimal Access
20   Surgery noted that Intuitive’s da Vinci was “the only commercially available robotic equipment”
21
     at the time.20 Similarly, a 2019 study on robotic surgery noted that Intuitive “[e]ffectively
22
     [possessed] a monopoly” in the robotic surgery industry.21
23

24

25

26   20
        Gkegkes, I. D., Mamais, I. A., & Iavazzo, C. (2017). Robotics in General Surgery: A Systematic Cost
      Assessment. Journal of Minimal Access Surgery, 13(4), 243–255. Https://Doi.Org/10.4103/0972-9941.195565
27   21
        Perez, R. E. & Schwaitzberg, S. D., Robotic Surgery: Finding Value in 2019 and Beyond, Ann. Laparosc. Endosc.
     Surg. 2019; 4:51.
28                                                         16
                   Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 17 of 44




                42.      Switching surgical robot systems is not feasible. First, surgical robot systems
 1

 2   require significant capital investment in not only the system itself, but also the necessary surgical

 3   instruments and, in many cases regarding the da Vinci, an agreement by Intuitive’s customers not

 4   to purchase competing robots. Further, operating a robotic surgical system requires many hours
 5
     of training. Switching surgical robot systems would not only be costly, as surgical robots have an
 6
     average sales price of $1.5 million and many of Intuitive’s U.S. customers have at least 2
 7
     systems representing significant capital investment, but would also require substantial time to
 8
     retrain surgeons and supporting staff to operate the new system, during which time a hospital
 9

10   may not be able to offer robotic surgical services.

11              43.      In addition, Intuitive incentivizes hospitals to upgrade their existing da Vincis by
12   offering them the opportunity to trade in their older da Vincis for a credit towards the purchase
13
     of a newer generation system.22
14
                44.      There are significantly high barriers to entry into the surgical robot market. The
15
     cost to develop a surgical robot is substantial, especially because Intuitive maintains an extensive
16

17   portfolio of patents that block the development of competing surgical robot systems.

18   Furthermore, clearance by regulatory agencies, such as the FDA, is an extensive and uncertain

19   process. Penetrating the market is also challenging; surgeons already have significant training
20   and experience with the da Vinci, not to mention the already sizeable installed base of da Vincis
21
     throughout the U.S. Furthermore, according to ¶ 23 of a complaint IRRC Restore filed against
22
     Intuitive on March 29, 2021, Intuitive has agreements with its customers that they will not
23
     purchase robotic surgery systems from competing manufacturers.
24

25

26
27
     22
          Intuitive (Form 10-K), at 89 (Feb. 10, 2021).
28                                                        17
                  Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 18 of 44




             45.      Further, Intuitive enjoys a first mover advantage in the market because the da
 1

 2   Vinci was the first robotic surgery system approved by the FDA in 2000. Consequently, many

 3   surgeons received extensive training to use the da Vinci during their residency, so hospitals

 4   wishing to attract surgeons who can perform robotic surgeries (and consequently the patients
 5
     who wish to receive robotic surgery) are disincentivized from installing other robotic surgery
 6
     systems. This also limits the extent to which other robotic systems can compete effectively in the
 7
     market.
 8
             2.       The da Vinci Service Aftermarket and Intuitive’s Monopoly Power in That
 9
                      Aftermarket
10
                   a. The Da Vinci Service Aftermarket
11
             46.      There is a relevant aftermarket in the U.S. for the service of da Vincis (the “da
12
     Vinci Service Aftermarket”). The robotic surgery equipment manufacturing industry generates
13
     about $3.8 billion in revenues per year in the U.S. and is expected to grow by 4.9% per year
14

15   between 2020-2025.23 In addition, the medical equipment repair and maintenance services

16   industry is a $3.3 billion market in the U.S. and is expected to grow by 1.5% per year between
17   2020-2025.24
18
             47.      After the da Vinci is installed, it requires regular maintenance and service. The
19
     primary aspects of the da Vinci Service Aftermarket are the routine maintenance of the da Vinci
20
     and the repair of the da Vinci when necessary.
21

22           48.      Recognizing this need for regular repair and maintenance, Intuitive enters into a

23   service contract with their customers at the time the da Vinci is sold or leased.25 The initial

24   service contract is typically 5 years, with the first year of service being free and the remaining 4
25

26
     23
        Thomas Crompton, “Robotic Surgery Equipment Manufacturing”, IBIS World, Dec 2020, at 7.
27   24
        Jack Curran, “Medical Equipment Repair & Maintenance Services,” IBIS World, June 2020, at 7.
     25
        Intuitive (Form 10-Q), at 29 (June 2020).
28                                                         18
                Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 19 of 44




     years ranging in price from $80,000 to $190,000 per year.26 At present, Intuitive requires its
 1

 2   customers to purchase one of two types of service plans for its da Vincis, either:

 3                   i.    the Complete Care Service Plan, which includes advance exchange program,

 4                         remote software update, sterile reprocessing support, technical support, onsite
 5
                           access and monitoring and da Vinci surgery customer portal; or
 6
                    ii.    the Premium Care Service Plan, which includes everything in the Complete
 7
                           Care service plan and provides extended service hours, faster response time,
 8
                           expedited replacement parts and a 5% discount on technology upgrade, among
 9

10                         other things.27

11           49.       At the end of each contract term, Intuitive offers an additional service contract.
12   Customers are forced to renew these contracts because, as long as they use the da Vinci,
13
     purchasers are required to obtain service and repairs from Intuitive.
14
             50.       The terms of the service contracts exempt Intuitive from its obligation to perform
15
     any service or repair if the customer or a third-party services the da Vinci, even if Intuitive’s
16

17   service contract did not cover the service.

18           51.       Customers have little or no information for projecting the costs of surgical robot

19   parts or service, even with flat-rate service agreements. In order to forecast the cost per use, the
20   customer must know how often the robot will be used. However, customers typically cannot
21
     forecast demand for a surgical robot: surgeons may have varying degrees of adaptation to a
22
     surgical robot at a new location or for a new procedure; competing hospitals may or may not
23
     acquire their own robots; and the FDA may or may not add new indications for use of the robot
24

25

26
     26
       Intuitive (Form 10-K), at 55 (Feb. 10, 2021).
27   27
       da Vinci service plan brochures are available at https://www.intuitive.com/en-us/products-and-services/da-
     vinci/services##.
28                                                           19
                   Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 20 of 44




     system. These and other unknown factors will impact how often a da Vinci is used, and thus
 1

 2   bears on part replacement and service costs.

 3              52.      There are high barriers to entry in the da Vinci Service Aftermarket. First, the

 4   terms of the da Vinci sales agreement and the tied da Vinci service contracts prohibit customers
 5
     from servicing their da Vinci either themselves or through an IRRC. Lessees of the da Vinci
 6
     must enter the same service contract for the term of the lease. This discourages customers from
 7
     seeking da Vinci repair or maintenance services from IRRCs. The technical skill, experience, and
 8
     certifications required to properly service the da Vinci also serve as prohibitive barriers to entry
 9

10   into the da Vinci Service Aftermarket.

11              53.      Quality control is not a valid business justification for excluding third parties from
12   servicing and repairing da Vincis.
13
                54.      Several robot repair companies have the skill and capacity to service da Vincis.
14
     For example, Restore, a surgical robotic repair company based in Florida, specializes in the da
15
     Vinci and hires da Vinci certified field service engineers with prior training and experience
16

17   working at Intuitive. Restore began offering service contracts for the da Vinci in 2018 and

18   typically offers service at rates of less than 50% of the effective rates offered by Intuitive.

19   Restore states that it can service da Vincis worldwide. SIS, with 50 years of experience servicing
20   surgical equipment, also claims it is capable of servicing da Vincis. Great Lakes Robotics
21
     (“Great Lakes”) is another robot repair company that claims to be an “authorized” provider of da
22
     Vinci services through its partnership with Restore.28
23

24

25

26
27
     28
          https://www.greatlakesrobotics.net/
28                                                        20
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 21 of 44




                   b. The Da Vinci Service Geographic Aftermarket
 1

 2           55.      Da Vinci robots are installed throughout the U.S., so IRRCs have the capability to

 3   service da Vincis throughout the U.S.

 4           56.      Intuitive sells and services da Vincis through third-party distributors in
 5
     unspecified countries outside the U.S. and provides them with a toolkit with all the
 6
     documentation, software, and passwords necessary to service the da Vinci. Distributors may only
 7
     use their toolkits to service da Vincis in their territory. No one else has access to the toolkit, not
 8
     even customers.
 9

10           57.      U.S. hospitals are thus unable to hire service providers from other countries, even

11   if Intuitive raises its da Vinci servicing prices above competitive levels.
12                 c. Intuitive Has a Monopoly in the Da Vinci Service Aftermarket
13
             58.      Intuitive exploits its monopoly power in the primary market for surgical robots to
14
     acquire and maintain monopoly power in the aftermarket for the service of the da Vinci. Thus, it
15
     can and does exclude competition and maintain supracompetitive prices for da Vinci service.
16

17           59.      First, Intuitive ties the sale of the da Vinci to da Vinci service contracts. The

18   terms of the sales and service agreements forbid purchasers from using third party repair or

19   maintenance services of any kind. Intuitive even reserves the right to void their entire service
20   contract if customers seek any kind of service, maintenance, or repair for their da Vinci through
21
     an IRRC. This effectively forecloses competition in the da Vinci Service Aftermarket.
22
             60.      All these measures discourage customers from attempting to service their da
23
     Vinci through an IRRC, further solidifying Intuitive’s monopoly in the da Vinci Service
24

25   Aftermarket.

26
27

28                                                      21
                     Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 22 of 44




                61.      As a result of this exclusionary conduct, Intuitive has directly maintained a
 1

 2   market share in the da Vinci Service Aftermarket of more than 99% for nearly 20 years. In 2019,

 3   Intuitive reported $508.4 million in revenues for service to its customers in the U.S.

 4              3.       The EndoWrist Service Aftermarket and Intuitive’s Abuse of Monopoly
                         Power in that Aftermarket
 5

 6                    a. Relevant EndoWrist Service Aftermarket

 7              62.      There is a relevant aftermarket for the service, including repair and replacement,

 8   of EndoWrists that is separate from the surgical robot market and the da Vinci Service
 9   Aftermarket. EndoWrists are the only surgical instruments that are compatible with and FDA-
10
     approved for use with the da Vinci. Because of these constraints, hospitals must have them
11
     serviced in order to use the da Vinci.
12
                63.      The EndoWrist Service Aftermarket is vertically integrated, meaning Intuitive
13

14   exercises complete control over the design, manufacture, sale, and replacement of EndoWrists.

15   Although Intuitive maintains a significant patent portfolio in its surgical robots, any blocking

16   patents for its EndoWrist instruments are long expired. Intuitive maintains a “Patent Notice” web
17
     page for its products. Virtually all the patents covering core structure and operations for the
18
     “EndoWrist” and “Accessories” are expired.
19
                64.      The EndoWrist Service Aftermarket is significantly larger than either the
20
     upstream da Vinci system market or the da Vinci Service Aftermarket. EndoWrists range in price
21

22   from $700 to $3,500 per procedure. Intuitive’s revenues from the sale of instruments and

23   accessories in the U.S. totaled $1.79 billion in 2019, and despite the Coronavirus pandemic, 2020
24   instrument and accessory revenues were an estimated $1.785 billion.29 By comparison, Intuitive
25

26
27
     29
          Intuitive (Form 10-K), at 98 (Feb. 10, 2021).
28                                                        22
                   Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 23 of 44




     reported revenues of $830 million from system sales and $508 million from service contracts in
 1

 2   2019.30

 3              65.      Indeed, the vast majority of Intuitive’s EndoWrist revenue and profit, and thus its

 4   overall revenue and profit, comes from the replacement of EndoWrists. This is because while a
 5
     da Vinci represents a large initial investment for Intuitive’s customers, they are typically in
 6
     service for 5 years, if not a decade, while EndoWrists provide a recurring revenue stream.
 7
     Indeed, the bulk of Intuitive’s revenue and profit growth over the last decade in the U.S. comes
 8
     from its sale of EndoWrist instruments, not robotic systems, as demonstrated by data from
 9

10   Intuitive’s 10-Ks from 2001 to 2019 below:31

11

12    Year                     2001      2002      2003      2004      2005       2006       2007       2008       2009
13
      Instruments              $5.0      $10.1     $18.8     $37.5     $67.8      $111.7 $191.6 $293.0 $389.4
14
      ($M)
15
      Systems ($M)             $44.2     $56.3     $61.8     $78.8     $124.6 $205.9 $324.4 $455.3 $490.5
16

17

18    Year                 2010        2011      2012       2013       2014       2015       2016       2017       2018
19    Instruments          $528.8 $701.1 $903.3 $1,033 $1,070 $1,198 $1,396 $1,637 $1,962
20
      ($M)
21
      Systems              $660.3 $777.8 $932.9 $834.9 $632.5 $721.9 $800                               $928.4 $1,127
22
      ($M)
23

24

25    Year                     2019              2020

26
27   30
          Intuitive (Form 10-K), at 87 (Feb. 7, 2020).
     31
          These charts reflect Intuitive’s worldwide revenues; revenues by region are unavailable prior to 2017.
28                                                               23
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 24 of 44




      Instruments         $2,408        $2,455
 1

 2    ($M)

 3    Systems ($M)        $1,346        $1,178
 4

 5
             66.    Because of Intuitive’s exclusionary service agreements, the EndoWrist Service
 6
     Aftermarket typically involves replacing EndoWrist instruments rather than servicing them (i.e.,
 7
     cleaning, sharpening, or repairing them). The services provided by Intuitive and those provided
 8

 9   (or that could be provided) by IRRCs are substitutable. For instance, hospitals hire Rebotix to

10   inspect and repair EndoWrist instruments, for example, by tightening the graspers or sharpening

11   the scissors. And SIS entered into contracts with several hospitals and health care systems to
12   provide EndoWrist repair services. More hospitals would substitute EndoWrist instrument
13
     replacement from Intuitive with these services in the absence of Intuitive’s exclusionary
14
     contractual terms.
15
             67.    Intuitive’s sales agreements require hospitals to replace their EndoWrists
16

17   exclusively with Intuitive. Per these contracts, Intuitive has the right to void warranties

18   associated with the da Vinci if unauthorized or unapproved instruments are used with the da

19   Vinci. This forces hospitals to continuously purchase replacement EndoWrists from Intuitive or
20
     risk voiding their service agreements for the entire system.
21
             68.    Intuitive’s standard sales agreement ties the purchase of a da Vinci to its
22
     “maximum number of uses” requirement for EndoWrist instruments. The usage requirement
23
     applies to every single EndoWrist instrument, regardless of its condition or whether it could be
24

25   used on additional procedures.

26           69.    Before releasing its EndoWrists to market, Intuitive told the FDA that the
27   EndoWrists and traditional instruments “are essentially identical … in terms of shape, size,
28                                                    24
                  Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 25 of 44




     function, and tissue effect;” “are substantially equivalent in intended use and/or method of
 1

 2   operation;” and “demonstrate substantial equivalence … in terms of safety and effectiveness.”

 3   The FDA agreed and “determined the [EndoWrist] device” is “substantially equivalent” to the

 4   traditional devices. Instruments used in traditional laparoscopic surgeries are cleaned and
 5
     inspected before and after each surgery and may be repaired between procedures, making them
 6
     usable for hundreds of surgeries.
 7
                70.     As shown below in Figure 5, EndoWrist instruments are nearly indistinguishable
 8
     from manually operated surgical instruments. Both are made from medical grade materials that
 9

10   typically last through hundreds of surgeries.32 Figure 5 includes an EndoWrist instrument on the

11   left and a traditional, manually manipulated instrument on the right, and illustrates that the
12   instruments are nearly identical.
13

14

15

16

17

18
19

20

21

22

23

24

25

26
27
     32
          Rebotix Complaint, ¶39.
28                                                     25
                  Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 26 of 44




                            Figure 5: EndoWrist forceps vs. Traditional manual forceps
 1

 2

 3

 4

 5

 6

 7

 8

 9              71.     However, despite being “substantially equivalent” to traditional laparoscopic
10
     instruments, Intuitive limits most EndoWrists to just 10 uses, far fewer in orders of magnitude
11
     than their manually operated counterparts.
12
                72.     To enforce this arbitrary restriction, Intuitive installs memory chips in its
13
     EndoWrist instruments that count the number of uses. Intuitive has exclusive control over the
14

15   usage counter, and once the counter hits its limit, the chip renders the EndoWrist non-functional

16   by wiping its memory so that the EndoWrist can no longer communicate with the da Vinci.
17   Intuitive has designed the EndoWrists to prevent the maximum usage counter from being
18
     tampered with or reset.
19
                73.     According to surgical instrument service companies, with proper care, inspection,
20
     and repair, EndoWrists can be used more than fifty times, just like the useful life of traditional,
21

22   manually manipulated laparoscopic instruments.33

23              74.     The maximum usage requirement for EndoWrists is not based on safety or

24   effectiveness considerations. First, Intuitive has never provided its customers any clinical or
25   scientific data to support its usage limits; Intuitive’s own instrument catalogs demonstrate that
26
27
     33
          Restore Second Amended Complaint, ¶80.
28                                                        26
                   Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 27 of 44




     the useful lives of the instruments are much longer than their usage limits. Yet irrespective of the
 1

 2   actual condition of the EndoWrist once it hits 10 uses, it must be replaced without exception.

 3   Second, Intuitive described the EndoWrist to the FDA as possessing substantial equivalence in

 4   terms of safety and effectiveness to its manually manipulated counterparts, which have no
 5
     specific usage limits. Third, when Intuitive sells EndoWrists for training purposes, the usage
 6
     limits are much higher than the exact same instruments sold for surgical use, with no
 7
     demonstrable or practical difference between the two. Nor does the surgical equipment industry
 8
     distinguish between an instrument sold for clinical use and the same instrument sold for training
 9

10   use. Training instruments, like instruments for clinical use, must retain their functionality for the

11   surgeon during use. The only difference is the generation of revenue for the hospital on a
12   surgical procedure for an instrument in clinical use. Intuitive has stated that the maximum usage
13
     requirement allows Intuitive to “sell the instrument for a fixed number of uses or hours and
14
     effectively price our EndoWrist instruments on a per-procedure or per-hour basis,” but there are
15
     no medical necessity or patient welfare concerns motivating Intuitive’s usage caps; rather, this
16

17   reflects Intuitive’s desire and ability to charge supracompetitive prices.34

18              75.      And in July 2020, Intuitive introduced its "Extended Use Program" for EndoWrist

19   instruments used with da Vinci X/Xi systems, where select instruments possess 12 to 18 uses
20   instead of Intuitive’s standard 10-use limitation.35 Intuitive vaguely stated that “continuous
21
     improvement in instrument design” enabled it to slightly increase some usage limits, but did not
22
     and has not explained why certain instruments were chosen for this program, nor why the usage
23
     limits can be upped to 12 or 15 or 18.
24

25

26
27   34
          Intuitive (Form 10-K), at 6 (March 30, 2001).
     35
          Intuitive (Form 10-Q), at 29 (July 23, 2020).
28                                                        27
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 28 of 44




            76.     Usage limits are not based on any FDA regulations. The surgical instruments used
 1

 2   with Asensus’ Senhance surgical robot system do not have usage limits. Traditional laparoscopic

 3   instruments do not have usage limits.

 4          77.     As recently as November 12, 2020, Intuitive submitted a 510(k) premarket
 5
     notification summary to the FDA for several EndoWrist instruments. The summary does not
 6
     reference any clinical or scientific data showing that the EndoWrists lose their functionality after
 7
     reaching the 10-use limit. Nor did Intuitive indicate that EndoWrists could not be serviced to
 8
     make them safe and effective after reaching the 10-use limit.
 9

10          78.     Customers cannot predict the costs for EndoWrists. Intuitive has complete control

11   over EndoWrist usage limits and can (and has) changed the usage limits and instructions for use
12   unilaterally and without notice. For example, Intuitive issued instructions for use for EndoWrist
13
     instruments, setting a maximum number of autoclave cycles, which sterilize the instruments
14
     using steam pressure. Because of the way that da Vinci surgeries are prepped and performed,
15
     EndoWrist instruments often have to undergo an autoclave cycle even if not actually attached to
16

17   a robot during surgery. The specified limit on autoclave cycles is extremely low compared to

18   comparable devices made of similar medical grade materials. These unilateral changes can force

19   early replacement, even if the counter has not hit its maximum use limit. They also substantially
20   increase (a) the per-surgery cost of EndoWrist instruments to hospitals, and (b) Intuitive’s supra-
21
     competitive EndoWrist profits, without prior notice to hospitals. Intuitive, as the sole
22
     manufacturer of EndoWrists, exercises complete control over the prices for replacement
23
     EndoWrists. Thus, customers cannot reasonably predict the timing or pricing for replacing
24

25   EndoWrists.

26          79.     There exist technological barriers to entry that prevent IRRCs from entering

27   and/or competing effectively in the EndoWrist Service Aftermarket. For instance, for the
28                                                    28
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 29 of 44




     EndoWrist instruments to work with the da Vinci, they must have a serial number from Intuitive.
 1

 2   Thus, IRRCs may only repair the instruments and, to do so, they must be able to reset the

 3   instrument’s usage counter after the repair.

 4          80.     IRRCs can service EndoWrists to prolong their use, rather than forcing hospitals
 5
     to purchase replacement instruments based on artificially low usage limitations. For example,
 6
     Rebotix has developed the Rebotix Interceptor, which resets the counter in at least some
 7
     EndoWrists. The Interceptor does not interfere with the safety or functionality of the EndoWrist
 8
     or communication between the EndoWrist and the da Vinci. However, the Interceptor has limited
 9

10   applicability as it works with just one da Vinci model. Restore specializes in the da Vinci and

11   hires da Vinci certified field service engineers with prior training and experience at Intuitive.
12          81.     And while Restore can reset the usage counter on EndoWrists for the Si robot
13
     system, it pays a large licensing fee to develop the technology to do so. Restore passes these
14
     costs on to its customers in the form of at least 20% higher service fees. Restore cannot reset the
15
     usage counter for other da Vinci systems, including the X and Xi robot systems.
16

17          82.     SIS states that it has the personnel, facilities, equipment and experience to service

18   at least 1,500 EndoWrists per month to prolong their use. In fact, SIS states it has already

19   serviced and repaired EndoWrists that have since been used successfully and without incident in
20   da Vinci surgeries. SIS also claims that independent testing shows that instruments serviced by
21
     SIS are suitable for at least 50 uses. SIS has developed detailed procedures for restoring
22
     EndoWrists to their original specifications and returning them to service. These procedures
23
     include disassembly of the EndoWrist, inspection of all components, adjustment of components
24

25   as necessary, confirming all movements, and re-setting the EndoWrist counter to Intuitive’s

26   original counter value.

27

28                                                    29
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 30 of 44




            83.      Intuitive has maintained a market share in the EndoWrist Service Aftermarket of
 1

 2   more than 90% for nearly 20 years.

 3                b. The Geographic Market for the EndoWrist Service Aftermarket

 4          84.      Intuitive is the sole manufacturer of EndoWrists worldwide and is the only seller
 5
     of EndoWrists in the U.S.
 6
            85.      EndoWrists are the only surgical instruments that are compatible with and FDA-
 7
     approved for use with the da Vinci, making them the only surgical instruments available for use
 8
     with the da Vinci in the U.S.
 9

10          86.      U.S. hospitals are thus unable to buy EndoWrists, or potentially substitutable

11   instruments, from suppliers in other countries, even if Intuitive raises its EndoWrist prices above
12   competitive levels.
13
                  c. Intuitive Has Abused Its Monopoly Power in the EndoWrist Service
14                Aftermarket

15          87.      Intuitive leverages its monopoly in the surgical robot market to maintain and

16   abuse its monopoly in the EndoWrist Service Aftermarket. Intuitive’s standard sales and lease
17
     agreements tie the purchase of a da Vinci to its “maximum number of uses” requirement for
18
     EndoWrist instruments. The usage requirement applies to every single EndoWrist instrument,
19
     regardless of its condition or whether it could be used on additional procedures.
20
            88.      Intuitive has acted with the clear intent to limit competition in the EndoWrist
21

22   Service Aftermarket by designing the usage counter to prevent IRRCs from resetting it. It is

23   essential to competition in the EndoWrist Service Aftermarket that IRRCs are able to reset the
24   usage counter after servicing the instrument. Otherwise, Intuitive’s customers are forced to pay
25
     exorbitant sums to Intuitive for brand new EndoWrists they do not yet need.
26
27

28                                                    30
                Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 31 of 44




             89.      Intuitive actively monitors the EndoWrist Service Aftermarket to ensure its
 1

 2   monopoly remains uninterrupted and its customers continue to buy EndoWrists they do not yet

 3   need. If a customer or IRRC services an EndoWrist so that it can be used beyond Intuitive’s

 4   arbitrarily set maximum usage limit, Intuitive sends a letter demanding that they cease and desist
 5
     from resetting the memory chip to allow the da Vinci to continue communicating with the
 6
     EndoWrist instrument. Intuitive has also attempted to scare potential competitors out of the
 7
     EndoWrist Service Aftermarket. On or about February 12, 2019, Intuitive sent a cease-and-desist
 8
     letter to Restore, demanding that it “immediately cease and desist” from “contacting Intuitive’s
 9

10   customers to offer service related to Intuitive’s products” and resetting the usage counters.

11   Intuitive has also sent letters to Rebotix’s customers, threatening to withhold necessary
12   contractual maintenance if the hospital uses Rebotix’s EndoWrist repair services. This would
13
     render the da Vinci useless. Further, after learning that its customers had entered into service
14
     contracts with SIS, Intuitive sent letters threatening to render the surgical robot inoperable and
15
     falsely claiming that using repaired EndoWrists would violate FDA requirements and intellectual
16

17   property rights. SIS alleges that as a result of Intuitive’s threats, all of its customers backed out

18   of their service agreements with SIS.

19           90.      Intuitive’s anticompetitive conduct enables it to charge its customers
20   supracompetitive prices that are independent of and far exceed the cost of EndoWrist
21
     instruments. An internal review by the healthcare system Kaleida Health revealed an average
22
     instrument cost of $3,400 per da Vinci procedure.36 Restore Robotics claims that Intuitive
23
     charges approximately 30% higher prices on average for EndoWrist instrument replacement
24

25   compared with EndoWrist instrument repairs by IRRCs.

26
27   36
       Perez, R. E. & Schwaitzberg, S. D., Robotic Surgery: Finding Value in 2019 and Beyond, Ann. Laparosc. Endosc.
     Surg. 2019; 4:51.
28                                                         31
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 32 of 44




            91.     To protect its EndoWrist monopoly pricing, Intuitive has announced that as of
 1

 2   2023, it intends to stop selling S and Si EndoWrist instruments, for which IRRCs can reset the

 3   usage counter. This will force its customers to upgrade their da Vincis to those using EndoWrists

 4   for which IRRCs cannot reset the usage counter.
 5
            92.     As a result of their exclusionary schemes, Intuitive can and does charge
 6
     supracompetitive prices to replace EndoWrists at significantly higher costs than offered by
 7
     IRRCs to service EndoWrists for prolonged use.
 8
            93.     As a result of this exclusionary conduct, Intuitive has maintained a market share
 9

10   in the EndoWrist Service Aftermarket of more than 90% for nearly 20 years.

11      B. Intuitive’s Anticompetitive Conduct Injured Plaintiff and the Proposed Class
12          94.     The services provided by Intuitive and those provided (or that could be provided)
13
     by IRRCs are substitutable, such that being able to use IRRCs could save hospitals a significant
14
     amount of money. However, due to the exclusionary service agreements Intuitive ties to the sale
15
     or lease of the da Vinci, these substitute services are typically not a viable option for hospitals.
16

17   Hospitals, therefore, have little choice but to pay higher prices to obtain da Vinci service and

18   (more frequent) EndoWrist instrument replacement from Intuitive.

19          95.     EndoWrists are the only instruments that are FDA-approved to work with the da
20   Vinci. Within its sales contracts for the da Vinci, Intuitive ties the sale of the system to
21
     renewable service contracts for EndoWrists. Thus, customers have no choice but to accept
22
     Intuitive’s restrictive terms and supracompetitive pricing scheme for the service of the da Vinci
23
     and EndoWrists.
24

25          96.     Intuitive’s tying scheme ensures high recurring revenues because it forces

26   Intuitive’s customers to constantly purchase EndoWrist instruments after as few as ten uses at a

27   significant and unnecessary cost, instead of having them serviced for prolonged use.
28                                                     32
                   Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 33 of 44




                97.      Even where an IRRC may disrupt or neutralize the EndoWrist counter, the
 1

 2   instrument must be repaired before exercising the last available use, lest the system automatically

 3   disable the EndoWrist. This, in turn, robs the customer of one use every time the EndoWrist is

 4   serviced.
 5
                98.      Restore claims to (a) offer service of the da Vinci at effective rates of less than
 6
     50% of the effective rates offered by Intuitive, and (b) repair EndoWrist instruments at least 25%
 7
     on average below replacement rates offered by Intuitive. SIS claims that a hospital would save
 8
     55-70% by having their EndoWrists serviced by SIS rather than purchasing replacement
 9

10   EndoWrists. Similarly, Rebotix claims to provide significant savings to hospitals on EndoWrist

11   instrument expenses, while providing as much safety and efficacy as Intuitive. And according to
12   Great Lakes, repairing EndoWrist instruments could save hospitals more than $100,000 per
13
     robot, per year.37 With a current installed base of approximately 3,720 da Vinci systems in the
14
     U.S., this suggests a total savings of $372 million per year if EndoWrists were repaired by
15
     IRRCs instead of being replaced by Intuitive. In the but-for world, absent Intuitive’s unlawful
16

17   restraints of trade, Intuitive would need to compete on price to protect an erosion of its market

18   share in response to IRRC’s lower prices, whether by reducing Intuitive’s own prices for service,

19   increasing the number of times an EndoWrist can be used, or both. The downward pressure on
20   price that would result from unfettered competition between Intuitive and its IRRC rivals would
21
     inure to the benefit of all direct purchasers in the market, whether they would have purchased
22
     from Intuitive or an IRRC rival.
23
                99.      It is no secret that hospitals pay above and beyond what is necessary to maintain a
24

25   da Vinci. For instance, according to a systematic cost assessment made on robotics in general

26
27
     37
          https://www.greatlakesrobotics.net/sales
28                                                         33
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 34 of 44




     surgery: “Nowadays, the only commercially available robotic equipment (da Vinci®, Intuitive
 1

 2   Surgical Inc.; CA, USA) is characterized by elevated cost, including the cost of acquisition,

 3   training, and equipment-instrument cost, as well as that of maintenance of the robotic system

 4   (with an annual service contract, over 100,000 US dollars).”38
 5
             100.    By tying the service of the da Vinci, and the repair and replacement of its
 6
     EndoWrists, to the sale of the da Vinci, Intuitive captures nearly 100% of the U.S. market for the
 7
     da Vinci Service and EndoWrist Service Aftermarkets. And in its annual reports, Intuitive
 8
     repeatedly notes how IRRCs may emerge and compete with Intuitive on price or offerings, and
 9

10   Intuitive’s failure to compete successfully with these IRRCs may cause its revenues to suffer.

11   This acknowledgement from Intuitive demonstrates that absent Intuitive’s anticompetitive
12   conduct, not only would the hospitals that purchased or leased da Vincis from Intuitive have
13
     cheaper alternatives from IRRCs in terms of servicing the da Vinci and/or EndoWrist
14
     instruments, but that Intuitive would also charge lower prices in order to better compete with
15
     these IRRCs.
16

17           101.    The exclusionary scheme has the effect of driving the majority of Intuitive’s

18   annual revenues. First, demand for da Vinci service and EndoWrist service is largely derived

19   from demand for da Vinci systems. So, by purchasing a da Vinci to attract more patients and
20   skilled surgeons to their facilities, hospitals are automatically locked into the Intuitive-controlled
21
     aftermarkets for da Vinci service and EndoWrist replacement/service.
22
             102.    In fact, in their 2019 10-K, Intuitive reported product revenue of $2.621 billion in
23
     the U.S., of which 57% was attributable to instruments and accessories, and 16% was attributable
24

25   to service contracts.39 In the U.S., Intuitive reported (a) $508 million in revenue from service

26
     38
        Gkegkes, I. D., Mamais, I. A., & Iavazzo, C. (2017). Robotics in General Surgery: A Systematic Cost
27    Assessment. Journal of Minimal Access Surgery, 13(4), 243–255. Https://Doi.Org/10.4103/0972-9941.195565
     39
        Intuitive (Form 10-K), at 56 (Feb. 7, 2020).
28                                                        34
                 Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 35 of 44




     contracts, and (b) $1.79 billion in revenue from instruments and accessories.40 Furthermore,
 1

 2   globally, in 2019, Intuitive’s gross profit was 70.2% for products and 65.6% for service.41

 3   Intuitive’s net income for 2019 in the U.S. was 31% of total revenue.42 This greatly exceeds the

 4   average profit margin of 8.5% in the medical equipment repair & maintenance industry.43 This
 5
     level of supracompetitive profit margin is commonly observed in industries characterized by
 6
     substantial barriers to entry and a single participant possessing a dominant market share, as is the
 7
     case for Intuitive in the da Vinci Service and EndoWrist Service Aftermarkets.
 8
             103.     There is no legitimate business, safety, or efficiency justification for Intuitive’s
 9

10   anticompetitive scheme, which was employed for the sole purpose of eliminating competition in

11   the da Vinci Service and EndoWrist Service Aftermarkets, thereby causing Plaintiff and the
12   proposed Class to pay significantly more than they would have in a competitive market for these
13
     services.
14
                                             CLASS ALLEGATIONS
15
             104.     Plaintiff brings this action on behalf of itself and on behalf of a class (the “Class”)
16

17   consisting of all entities that paid Intuitive directly for da Vinci service and/or the service,

18   including repair and replacement, of EndoWrists in the United States at any time from May 21,

19   2017 to the present (the “Class Period”). Excluded from the Class are Defendant, its officers,
20   subsidiaries and affiliates, and all government entities.
21
             105.     Plaintiff seeks class certification pursuant to Rule 23(b)(3) of the Federal Rules of
22
     Civil Procedure.
23

24

25

26   40
        Id. at 87.
     41
        Id. at 57.
27   42
        Id. at 45.
     43
        Jack Curran, “Medical Equipment Repair & Maintenance Services,” IBIS World, June 2020, at 7.
28                                                         35
                   Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 36 of 44




             106.      Numerosity. Hundreds of hospitals, trauma centers and/or clinics have purchased
 1

 2   da Vinci service and EndoWrist instruments during the Class Period pursuant to Intuitive

 3   contracts that tied sales of da Vincis to aftermarket sales of service. Thus, there are numerous

 4   Class members and joinder is impracticable. The Class members are identifiable from
 5
     information and records that are required by law to be maintained by Defendant.
 6
             107.      Typicality. Plaintiff’s claims are typical of the claims of the other members of the
 7
     proposed Class. Plaintiff and members of the proposed Class purchased da Vinci service and/or
 8
     EndoWrist surgical instrument service directly from Defendant during the Class Period at
 9

10   supracompetitive prices resulting from Defendant’s unlawful actions. Plaintiff and members of

11   the proposed Class have sustained damages in that they paid inflated prices for the service and
12   repair of da Vinci systems and repair/replacement of EndoWrist instruments during the Class
13
     Period due to Defendant’s conduct in violation of federal law.
14
             108.      Adequacy of Representation. Plaintiff will fairly and adequately protect and
15
     represent the interests of the proposed Class. The interests of the Plaintiff are not antagonistic to
16

17   those of the proposed Class. In addition, Plaintiff is represented by counsel, who are experienced

18   and competent in the prosecution of complex class action, antitrust and consumer protection

19   litigation.
20           109.      Ascertainability. Plaintiff has defined the Class so that Class members can be
21
     identified using objective criteria, i.e., entities that purchased da Vinci service and EndoWrist
22
     instruments directly from Intuitive during the Class Period. Defendant’s data can identify all
23
     Class members.
24

25           110.      Commonality and Predominance. Questions of law and fact common to the

26   members of the class predominate over questions, if any, that may affect only individual

27   members.
28                                                      36
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 37 of 44




            111.         Questions of law and fact common to the Class include without limitation:
 1

 2                   i.         Whether Defendant’s conduct constitutes an illegal tying scheme under
                                Section 1 of the Sherman Act;
 3
                   ii.          Whether Defendant’s conduct constitutes illegal monopolization under
 4                              Section 2 of the Sherman Act;
 5                 iii.         Whether Defendant abused its monopoly power in the U.S. surgical robot
                                market in order to gain a competitive advantage in the markets to service
 6
                                and repair da Vinci systems and EndoWrist instruments in violation of
 7                              Sections 1 and 2 of the Sherman Act;

 8                 iv.          Whether Defendant’s conduct had the effect of substantially lessening
                                competition in the (1) da Vinci Service; and (2) EndoWrist Service
 9                              Aftermarkets;
10                  v.          Whether Defendant’s unlawful conduct caused Plaintiff and the proposed
                                Class to pay more for da Vinci service, and to service, repair and/or
11
                                replace EndoWrists than they otherwise would have paid; and
12
                   vi.          The appropriate measure of damages incurred by Plaintiff and the
13                              proposed Class.

14          112.         Superiority. A class action is superior to other available methods for the fair and
15   efficient adjudication of this controversy because joinder of all Class members is impracticable.
16
     The prosecution of separate actions by individual members of the Class would impose heavy
17
     burdens upon the courts and Defendant, and would create a risk of inconsistent or varying
18
     adjudications of the questions of law and fact common to the Class. A class action, on the other
19

20   hand, would achieve substantial economies of time, effort and expense, and would assure

21   uniformity of decision as to persons similarly situated without sacrificing procedural fairness or

22   bringing about other undesirable results.
23          113.         The interest of members of the Class in individually controlling the prosecution of
24
     separate actions is theoretical rather than practical. The Class has a high degree of cohesion, and
25
     prosecution of the action through a representative would be unobjectionable. The amounts at
26
     stake for Class members, while substantial in the aggregate, are not great enough individually to
27

28                                                        37
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 38 of 44




     enable them to maintain separate suits against Defendant. Plaintiff does not anticipate any
 1

 2   difficulty in the management of this action as a class action.

 3                                          CAUSES OF ACTION

 4                              COUNT I – MONOPOLIZATION OF THE
                                 DA VINCI SERVICE AFTERMARKET
 5

 6           114.    Plaintiff and the proposed Class repeat and allege the foregoing allegations with

 7   the same force and effect as if here set forth in full.

 8           115.    Intuitive has willfully acquired and maintained monopoly power in the da Vinci
 9
     Service Aftermarket in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.
10
             116.    As a direct and proximate result of the foregoing conduct, Plaintiff and the Class
11
     have been injured in their business and property in an amount not presently known.
12
                                COUNT II – ATTEMPTED MONOPOLIZATION
13
                                OF THE DA VINCI SERVICE AFTERMARKET
14
             117.    Plaintiff and the proposed class repeat and allege the foregoing allegations with
15
     the same force and effect as if here set forth in full.
16

17           118.    Intuitive has attempted to monopolize the da Vinci Service Aftermarket in

18   violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. Intuitive has the specific intent to

19   monopolize the da Vinci Service Aftermarket by engaging in exclusionary conduct, has engaged
20   in such conduct, and has a dangerous probability of success in achieving monopoly power.
21
             119.    As a direct and proximate result of the foregoing conduct, Plaintiff and the Class
22
     have been injured in their business and property in an amount not presently known.
23

24

25

26
27

28                                                      38
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 39 of 44




                                COUNT III – TYING OF THE DA VINCI
 1                                  SERVICE AFTERMARKET
 2
             120.    Plaintiff and the proposed Class repeat and allege the foregoing allegations with
 3
     the same force and effect as if here set forth in full.
 4
             121.    Intuitive has engaged in an unlawful tying arrangement in unreasonable restraint
 5

 6   of trade and commerce, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. This illegal

 7   scheme tied da Vinci service to the sale of the da Vinci system.

 8           122.    Surgical robots and da Vinci service are separate products that are sold or leased
 9
     in separate markets from one another.
10
             123.    At all times relevant to this action, Intuitive has maintained substantial economic
11
     power in the surgical robot market. Intuitive’s tying arrangement has had anticompetitive effects
12
     in the domestic da Vinci Service Aftermarket.
13

14           124.    Intuitive’s tying scheme had no legitimate safety, efficiency, or business purpose.

15   It achieved no legitimate efficiency benefits and had the anticompetitive effect of foreclosing
16   competition in the market to service the da Vinci, such that Plaintiff and the proposed Class
17
     could only obtain these services from Intuitive.
18
             125.    A substantial amount of interstate commerce was affected by Intuitive’s tying
19
     scheme. Intuitive reported $508.4 million revenues from service contracts and $1.790 billion
20

21   revenues from parts and accessories in 2019 alone.

22            126. As a result of Intuitive’s violations of Section 1 of the Sherman Act, Plaintiff and

23   the Class have been injured in their business and property in an amount not presently known.
24

25

26
27

28                                                      39
                Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 40 of 44




                                COUNT IV – MONOPOLIZATION
 1                        OF THE ENDOWRIST SERVICE AFTERMARKET
 2
              127.   Plaintiff and the proposed class repeat and allege the foregoing allegations with
 3
     the same force and effect as if here set forth in full.
 4
              128.   Intuitive has willfully acquired and maintained monopoly power in the EndoWrist
 5

 6   Service Aftermarket in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

 7            129.   As a direct and proximate result of the foregoing conduct, Plaintiff and the Class

 8   have been injured in their business and property in an amount not presently known.
 9
                           COUNT V – ATTEMPTED MONOPOLIZATION
10                        OF THE ENDOWRIST SERVICE AFTERMARKET

11            130.   Plaintiff and the proposed Class repeat and allege the foregoing allegations with
12   the same force and effect as if here set forth in full.
13
              131.   Intuitive has attempted to monopolize the EndoWrist Service Aftermarket in
14
     violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. Intuitive has the specific intent to
15
     monopolize the EndoWrist Service Aftermarket by engaging in exclusionary conduct, has
16

17   engaged in such conduct, and has a dangerous probability of success in achieving monopoly

18   power.

19            132.   As a direct and proximate result of the foregoing conduct, Plaintiff and the Class
20   have been injured in their business and property in an amount not presently known.
21

22

23

24

25

26
27

28                                                      40
               Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 41 of 44




                                     COUNT VI – TYING
 1                        OF THE ENDOWRIST SERVICE AFTERMARKET
 2
             133.    Plaintiff and the proposed class repeat and allege the foregoing allegations with
 3
     the same force and effect as if here set forth in full.
 4
             134.    Intuitive has near-absolute monopoly power in the domestic market for minimally
 5

 6   invasive surgical robots. Intuitive has conditioned the sale and servicing of the da Vinci on

 7   customers buying replacement EndoWrists from Intuitive instead of repairing the EndoWrists

 8   that the customers already have, in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.
 9
             135.    Surgical robots and the service, repair, and replacement of EndoWrists are
10
     separate products that are sold or leased in separate markets from one another.
11
             136.    Intuitive’s tying scheme had no legitimate safety, efficiency, or business purpose.
12
     It achieved no legitimate efficiency benefits and had the anticompetitive effect of foreclosing
13

14   competition in the market to service, repair and replace EndoWrists such that Plaintiff and the

15   proposed Class could only obtain these services from Intuitive.
16           137.    A substantial amount of interstate commerce was affected by Intuitive's tying
17
     scheme. Just in 2019, Intuitive’s total revenues from parts (primarily EndoWrists) exceeded
18
     $1.790 billion, and Intuitive reported $508 million revenues from service contracts. These
19
     amounts account for 73% of Intuitive’s revenues in 2019.
20

21           138.    As a result of Intuitive’s violations of Section 1 of the Sherman Act, Plaintiff and

22   the Class were injured in their business and property in an amount not presently known.

23                                         PRAYER FOR RELIEF
24           WHEREFORE, Plaintiff and the proposed Class respectfully request the following relief:
25
             A.      Certify the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure,
26
     certify Plaintiff as a Class representative and designate its counsel as counsel for the Class;
27

28                                                      41
                 Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 42 of 44




            B.       Declare that Defendant’s conduct constitutes a violation of Sections 1 and 2 of the
 1

 2   Sherman Act;

 3          C.       Award Plaintiff and the members of the proposed Class damages determined to

 4   have been sustained by each of them, trebled as provided by law;
 5
            D.       Award Plaintiff and the proposed Class their costs of the suit, including attorneys’
 6
     fees, as provided by law; and
 7
            E.       Grant such other relief as this Court may deem just and proper.
 8
                                              JURY DEMAND
 9

10          Plaintiff and the Class hereby demand trial by jury of all issues properly triable thereby.

11
      Dated: May 20, 2021                               Respectfully Submitted,
12
                                                        By: /s/ Bonny E. Sweeney
13
                                                           Bonny E. Sweeney (SBN 176174)
14                                                         Seth R. Gassman (SBN 311702)
                                                           HAUSFELD LLP
15                                                         600 Montgomery Street, Suite 3200
                                                           San Francisco, CA 94111
16                                                         Tel: 415-633-1908
17                                                         Fax: 415-358-4980
                                                           Email: bsweeney@hausfeld.com
18                                                                 sgassman@hausfeld.com

19                                                           Brent W. Landau (pro hac vice
                                                             application forthcoming)
20                                                           Gary I. Smith, Jr. (pro hac vice
21                                                           application forthcoming)
                                                             HAUSFELD LLP
22                                                           325 Chestnut Street, Suite 900
                                                             Philadelphia, PA 19106
23                                                           Tel: 215-985-3270
                                                             Fax: 215-985-3271
24                                                           Email: blandau@hausfeld.com
25                                                                   gsmith@hausfeld.com

26
27

28                                                    42
     Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 43 of 44




                                       Jeffrey J. Corrigan (pro hac vice
 1                                     application forthcoming)
 2                                     Jeffrey L. Spector (pro hac vice
                                       application forthcoming)
 3                                     Icee N. Etheridge (pro hac vice
                                       application forthcoming)
 4                                     SPECTOR ROSEMAN & KODROFF,
                                       P.C.
 5
                                       2001 Market Street, Suite 3420
 6                                     Philadelphia, PA 19103
                                       Tel: 215-496-0300
 7                                     Fax: 215-496-6611
                                       Email: jcorrigan@srkattorneys.com
 8                                             jspector@srkattorneys.com
                                               ietheridge@srkattorneys.com
 9

10                                     Michael J. Boni (pro hac vice application
                                       forthcoming)
11                                     Joshua D. Snyder (pro hac vice
                                       application forthcoming)
12                                     John E. Sindoni (pro hac vice application
                                       forthcoming)
13
                                       BONI, ZACK & SNYDER LLC
14                                     15 St. Asaphs Road
                                       Bala Cynwyd, PA 19004
15                                     Tel: 610-822-0200
                                       Fax: 610-822-0206
16                                     Email: mboni@bonizack.com
17                                             jsnyder@bonizack.com
                                               jsindoni@bonizack.com
18
                                       Kevin Bruce Love (pro hac vice
19                                     application forthcoming)
                                       Michael E. Criden (pro hac vice
20                                     application forthcoming)
21                                     Lindsey Grossman (pro hac vice
                                       application forthcoming)
22                                     CRIDEN & LOVE, P.A.
                                       7301 SW 57th Court, Suite 515
23                                     South Miami, FL 33143
                                       Tel: 305-357-9010
24                                     Fax: 305-357-9050
25                                     Email: klove@cridenlove.com
                                               mcriden@cridenlove.com
26                                             lgrossman@cridenlove.com

27

28                                43
     Case 3:21-cv-03825-VC Document 1 Filed 05/20/21 Page 44 of 44




                                       Kimberly A. Justice (pro hac vice
 1                                     application forthcoming)
 2                                     Jonathan M. Jagher (pro hac vice
                                       application forthcoming)
 3                                     FREED KANNER LONDON &
                                       MILLEN LLC
 4                                     923 Fayette Street
                                       Conshohocken, PA 19428
 5
                                       Tel: 610-234-6487
 6                                     Fax: 224-632-4521
                                       Email: kjustice@fklmlaw.com
 7                                             jjagher@fklmlaw.com

 8                                     William H. London (pro hac vice
                                       application forthcoming)
 9
                                       Douglas A. Millen (pro hac vice
10                                     application forthcoming)
                                       FREED KANNER LONDON &
11                                     MILLEN LLC
                                       2201 Waukegan Road, #130
12                                     Bannockburn, IL 60015
                                       Tel: 224-632-4500
13
                                       Fax: 224-632-4521
14                                     Email: blondon@fklmlaw.com
                                               dmillen@fklmlaw.com
15
                                       Counsel for Plaintiff Larkin Community
16                                     Hospital and the Proposed Class
17

18
19

20

21

22

23

24

25

26
27

28                                44
